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ATTORNEYS FOR THE HONORABLE PHILLIP JOURNEY

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                                         § Chapter 11
                                                               §
NATIONAL RIFLE ASSOCIATION                                     § Case No. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC                                    §
                                                               §
           Debtors 1                                           § Jointly Administered

                               NOTICE OF STATUS CONFERENCE

         PLEASE TAKE NOTICE that a status conference on the Motion for Appointment of

Examiner [Docket No. 114] has been scheduled for Wednesday, February 24, 2021 at 2:00 p.m.

(Central Time) before the Honorable Harlin D. Hale, United States Bankruptcy Judge for the

Northern District of Texas, 1100 Commerce Street, 14th Floor, Courtroom #3, Dallas, Texas

75242.




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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          PLEASE TAKE FURTHUR NOTICE that the hearing will be conducted by

videoconference and teleconference in Webex. The Webex hearing link will be posted to Judge

Hale’s Hearing and Dates and Calendar web page prior to the hearing and may be accessed from

the following link: https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-haleshearing-

dates. Parties attending the hearing are requested to include their names on the Court’s electronic

sign-in sheet located on Judge Hale’s web page under “Electronic Appearances” located at the link

given above. Parties should also review, prior to the hearing, the Webex information attached

hereto.




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Dated: February 22, 2021                    Respectfully submitted by,

                                            /s/ M. Jermaine Watson
                                            M. Jermaine Watson
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                                            H. Brandon Jones
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                                            ATTORNEYS FOR THE HONORABLE
                                            PHILLIP JOURNEY


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 22, 2021, a copy of the foregoing
document was served by e-mail (where available) or first-class mail on all parties required to be
provided notice pursuant to the Order Granting Complex Chapter 11 Case Treatment [Docket No.
53], including those parties listed on the Master Service List [Docket No. 125].

                                            /s/ J. Robertson Clarke
                                            J. Robertson Clarke




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